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Our Ref. : 464-30

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

X
HARTFORD FIRE INSURANCE
COMPANY a/s/o l\/larc Fisher LLC, ECF

Plaintiff, 17 Civ. ( )

- against - COMPLAINT

KESCO LOGISTICS, INC.,

Defendant.

X

 

Plaintiff, HARTFORD FIRE INSURANCE COMPANY a/s/o Marc Fisher LLC,, by
their attomeys, Casey & Barnett, LLC, as and for their Complaint herein against the
defendants, alleges upon information and belief as follows:

l. All and singular the following premises are true and constitute an admiralty or maritime
claim Within the meaning of Rule 9(h) of the Federal Rules of Civil Procedure and Within the
admiralty and maritime jurisdiction of the United States and of this Honorable Court.

2. Plaintiff, Hartford Fire insurance Company (hereinafter referred to as "Hartford"), is
and Was at all times hereinafter mentioned a corporation organized and existing under and by
virtue of the laws of one of the states of the United States and provided all-risk cargo insurance
for the subject shipments hereinafter described, and maintained an office and place of business

at P.O. BoX 3 l22, Naperville, Illinois 60566-7l22 and 2 Park Avenue, NeW York, New Yorl<..

 

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3. Plaintiff Hartford has paid the consignee and owner of the shipments mentioned
hereinafter pursuant to a marine cargo insurance policy herein before described and brings this
action on its own behalf and as agent and trustee on behalf of and for the interest of all parties
who may be or become interested in the said shipment, as their respective interests may
ultimately appear, and plaintiff is entitled to maintain this action. The shippers and consignees
hereinafter mentioned have performed all conditions required on their part to be performed
with respect to the subject shipment

4. At all material times, defendant KESCO LOGISTICS, lNC. (hereinafter “KESCO”)
was and is a corporation or other business entity organized and existing by virtue of the laws of
a foreign state with an office and place of business located at 20 Sunrise Hwy #3 08, Valley
Stream, NY 11581 and at all relevant times was and is still doing business within the
jurisdiction of the Honorable Court as an ocean common carrier of goods for hire.

5. Plaintiff brings this action on its own behalf and as agent and/or trustee on behalf of and
for the interest of all parties who may be or become interested in the said consignments, as their
respective interests may ultimately appear, and plaintiff is entitled to maintain this action.

6. On or before May 24, 2016, there was shipped by Marc Fisher LLC, in Kowloon, Hong
Kong, as shippers, 67 cartons of ladies shoes, which Defendant Kesco stowed in ocean
shipping container l\/IAGU52l 841 , for carriage from Hong Kong to Rotterdam aboard the
vessel Cl\/IA CGM LAPEROUSE on voyage 063FFW, said shipments then being in good order

and condition, and said defendants then and there accepted the said shipment so shipped and

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delivered to them and, in consideration of certain freight charges thereupon paid or agreed to be
paid, agreed to transport and carry the said shipment to Rotterdam and there deliver same in
like good order and condition as when shipped, delivered to and received by them, to Berbo
Grens Service B.V., the named consignee, all in accordance with a Uniform Through Export
Bill of Lading issued by or on behalf of the vessel and defendant KESCO numbered
KSCl\/l019205, dated 24 May 2016.
7. On or about 24 May 2016 the aforementioned shipment was loaded aboard the M/V
CMA CGM LAPEROUSE and the vessel sailed for its intended destination

Thereafter, the aforementioned shipment arrived in Rotterdam and discharged the
aforementioned ocean shipping container which contained the subject shipment for delivery to
the consignee, Berbo Grens Service B.V. as aforesaid
9. At the time of delivery, the shipment was not delivered in the same good order and
condition was when first delivered to the defendant and the carrying vessel but, to wit, said
shipment was delivered with damage and loss of value to the shipments in an amount which is
presently calculated in the total amount of $40,825.00.
lO. As a result of the foregoing, the plaintiff’ s assured, Marc Fisher LLC suffered a loss by
reason of the damages to the aforementioned shipments that were laden in container

MAGU521 841 in the total amount of $40,825.00.

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ll. At all relevant times a contract of insurance for property damage was in effect between
Plaintiff and Marc Fisher LLC which provided, among other things, coverage for loss or
damage to the subject consignment
l2. Pursuant to said contract of insurance between Plaintiff and Marc Fisher LLC, Plaintiff
paid their assured for the loss and/or damage suffered to the aforementioned consignment and
as a result has an equitable right of subrogation and to the extent of the payments made to their
assured is subrogated to the rights of the assured with respect to any and all claims for damages
against the aforementioned defendant
l3. By reason of the foregoing, Plaintiff has sustained damages which will be shown with
specificity at trial, no part of which has been paid, although duly demanded, which are
presently estimated to be no less than $40,825.00.

WHEREFORE, plaintiff prays:

l. That process in due form of law may issue against defendant citing it to
appear and answer all and singular the matters aforesaid;

2. That if defendant cannot be found within this District then all of its
property within this District be attached in the sum of $40,825.00, with interest thereon and
costs, the sum sued for in this Complaint',

3. That judgment may be entered in favor of plaintiff, HARTFORD FIRE
INSURANCE COMPANY, and against defendant, KESCO LOGISTICS, INC., in the amount

of at least $40,825.00, together with interest and costs and the disbursements of this action;

 

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4. That this Court will grant to plaintiff such other and hirther relief as may

be just and proper.

Dated: June l6, 2017
New York, New York
CASEY & BARNETT, LLC
Attorneys for Plaintiff
Hartford Fire Insurance Company

UUZLIS (JK-4972)

  

By:

